                  Case 4:13-cr-00116-WTM-JEG Document 199 Filed 06/30/15 Page 1 of 11




                                                 UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF GEORGIA
                                                      SAVANNAH DIVISION

                  MIGUEL IIERNANDEZ-LANDEROS,

                             Petitioner,

                             V.                                                               4: 14-cv-58
                                                                                              4:13-cr-1 16-4
                  UNITED STATES OF AMERICA,

                             Respondent.




                                  MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION

                             Movant Miguel Hernandez-Landeros has filed a petition to vacate, set aside, or

                  correct his sentence pursuant to 28 U.S.C. § 2255. CV ECF No. 1.1 For the reasons set

                  forth below, Hemandez-Landeros's petition should be DENIED.

                                                            STATEMENT OF THE CASE

                             On October 30, 2013, Hernandez-Landeros pleaded guilty to possessing a firearm

                  and ammunition as an illegal alien, in violation of 18 U.S.C. § 922(g)(5). CR ECF Nos.

                  111; 125.2 After accepting Hernandez-Landeros's plea, the Court sentenced him to 46
             11

                  months' imprisonment. CR ECF No. 124. Then, on March 21, 2014, Hernandez-Landeros

                  filed a § 2255 motion alleging as grounds entitling him to relief that he received ineffective

                  assistance of counsel and that his plea was involuntarily entered. CV ECF No. 1. The

                  Government timely responded to that motion, CV ECF No. 3, and, on May 15, 2014,

                  Hernandez-Landeros filed a reply to the Government's response, CV ECF No. 4.




                      Citations to CV ECF refer to docket entries in Hernandez-Landeros v. United States, 4: 14-cv-58.
                  2
                      Citations to CR ECF refer to docket entries in United States v. Hernandez-Landeros, 4:13-cr-I1 64.



AO 72A
(Rev.8/82)
             Case 4:13-cr-00116-WTM-JEG Document 199 Filed 06/30/15 Page 2 of 11




                     On January 22, 2015, United States Attorney Edward J. Tarver disclosed to the Court

             information regarding an "improper relationship" between Assistant United States Attorney

             ("AUSA") Cameron Ippolito and ATF Special Agent Lou Valoze. In re Cameron Ippolito

             & Lou Valoze, 2015 WL 424522, at *1 (S.D. Ga. Jan. 30, 2015). The Court ordered that the

             United States Attorney "submit a list of all cases . . . in which AUSA Ippolito and Agent

             Valoze collaborated." Id. Hernandez-Landeros's criminal case was among those cases that

             the United States Attorney identified to the Court.

                     In the wake of this revelation, Hernandez-Landeros sought leave to supplement his

             original § 2255 petition. CV ECF No. 6. The Court granted leave, CV ECF No. 10, and

             Hernandez-Landeros supplemented his petition to incorporate a claim related to the newly

             revealed information, CV ECF No. 11.

                                                     DISCUSSION

                     Hernandez-Landeros seeks relief on three separate grounds. First, he argues that his

             counsel at sentencing was ineffective for failing to object to the calculation of his base

             offense level, for failing to object to a sentencing enhancement, and for failing to discuss

             with him an appeal of his sentence. CV ECF No. 5. Second, he argues that his guilty plea

             was involuntary. Id. at 6. Finally, he argues that the government's failure to disclose the

             improper relationship between Ippolito and Valoze was misconduct that inappropriately

             induced his guilty plea. CV ECF No. 11 at 2. None of Hernandez-Landeros's arguments

             justify granting him relief.

             I.      Ineffective Assistance Claims

                     The United States Constitution grants to all criminal defendants the right to effective

             assistance of counsel. Strickland v. Washington, 466 U.S. 668, 684-85 (1984). To prevail on



AO 72A
(Rev.8/82)
             Case 4:13-cr-00116-WTM-JEG Document 199 Filed 06/30/15 Page 3 of 11




             a claim of ineffective assistance of counsel, the defendant must demonstrate (1) his

             counsel's performance was deficient, i.e., the performance fell below an objective standard

             of reasonableness, and (2) he suffered prejudice as a result of that deficient performance.   Id.

             at 685-86. The deficient performance requirement concerns "whether counsel's advice was

             within the range of competence demanded of attorneys in criminal cases." Hill v. Lockhart,

             474 U.S. 52, 56 (1985). "There is a strong presumption that counsel's conduct fell within

             the range of reasonable professional assistance." Davis v. United States, 404 F. App'x 336,

             338 (11th Cir. 2010) (citing Strickland, 466 U.S. at 689). "It is petitioner's burden to

             'establish that counsel [performed] outside the wide range of reasonable professional

             assistance' by making 'errors so serious that [counsel] failed to function as the kind of

             counsel guaranteed by the Sixth Amendment." LeCroy v. United States, 739 F.3d 1297,

             1312 (11th Cir. 2014) (second alteration in original) (quoting Butcher v. United States, 368

             F.3d 1290, 1293 (11th Cir. 2004)). "Showing prejudice requires petitioner to establish a

             reasonable probability that, but for counsel's unprofessional errors, the result of the

             proceeding would have been different."       Id.   (quotation marks omitted). "The prejudice

             prong requires a petitioner to demonstrate that seriously deficient performance of his

             attorney prejudiced the defense." Id. at 1312-13 (quoting Butcher, 368 F.3d at 1293).

                    A. Failure to Object to Hernandez-Landeros's Base Offense Level

                    At sentencing, the Court adopted the probation officer's conclusions as to the

             applicable advisory guidelines. CR ECF No. 156 at 4. Neither Hernandez-Landeros nor his

             attorney objected. Id. The presentence investigation report calculated his base offense level

             to be 20, though it was then adjusted to 23. See CV ECF Nos. 1 at 11; 3 at 6.




                                                            3
AO 72A
(Rev.8/82)
             Case 4:13-cr-00116-WTM-JEG Document 199 Filed 06/30/15 Page 4 of 11




                     Hernandez-Landeros argues that his base offense level was erroneously calculated to

             be 20; he argues that the appropriate level was 14. CV ECF No. 1 at 14. He cites to

             U.S.S.G. § 2K2.1(a)(4)(A), 3 arguing that the Court erroneously applied it to him.                   Id

             Hernandez-Landeros is correct; § 2K2.1(a)(4)(A) does not apply to him. But he ignores §

             2K2. I (a)(4)(B), which does. That section indicates that a base offense level of 20 is

             appropriate if

                     the (i) offense involved a (I) semiautomatic firearm that is capable of accepting a
                     large capacity magazine; or (II) firearm that is described in 26 U.S.C. 5845(a); and
                     (ii) defendant (I) was a prohibited person at the time the defendant committed the
                     instant offense; (II) is convicted under 18 U.S.C. 922(d); or (III) is convicted under
                     18 U.S.C. 922(a)(6) or 924(a)(1)(A) and committed the offense with knowledge,
                     intent, or reason to believe that the offense would result in the transfer of a firearm or
                     ammunition to a prohibited person.

             U.S.S.G. § 2K2.1(a)(4)(B). Hernandez-Landeros pleaded guilty to violating 18 U.S.C. §

             922(g)(5), which prohibits possession of "any firearm or ammunition" by any person who

             "is unlawfully or illegally in the United States." See CR ECF No. 125 at 1, 7. In his plea

             agreement, I-Iernandez-Landeros admitted that he was "an alien illegally and unlawfully in

             the United States." Id at 7. He also admitted to having possessed a "9mm semiautomatic

             pistol," Id., which meets the requirements of § 2K2. 1 (a)(4)(B). Both of the elements of

             establishing a base offense level of 20 were met, and the Court's base offense level

             calculation was not erroneous.

                     Since the calculation of Hernandez-Landeros's base offense level was not erroneous,

             it was not error for his attorney not to object. Neither Strickland prong has been met; not

             only was his attorney's failure to object reasonable, it caused Hernandez-Landeros no

             prejudice. Therefore, Hernandez-Landeros should not be granted relief on this count.


               Hemandez-Landeros cites to U.S.S.G. § 2K1.2. Since he quotes U.S.S.G. § 2K2.l, however, it is clear he
             intends to cite to the latter portion of the guidelines.




AO 72A
(Rev.8/82)
             Case 4:13-cr-00116-WTM-JEG Document 199 Filed 06/30/15 Page 5 of 11




                    B. Failure to Object to Hernandez-Landeros's Enhancement

                    In calculating the final offense level under the sentencing guidelines, the Court

             imposed a four-level enhancement for arms trafficking. See CV ECF Nos. 1 at 22; 3 at 17.

             The sentencing guidelines require a defendant's offense level to be increased by 4 "[i]f the

             defendant engaged in the trafficking of firearms." U.S.S.G. § 2K2.1(b)(5). This four-level

             increase "applies if the defendant: (1) intentionally transferred 'two or more firearms to

             another individual'; and (2) 'had reason to believe that such conduct would result in the

             transport, transfer, or disposal of a firearm to an individual . . . who intended to use or

             dispose of the firearm unlawfully." United States v. West, 563 F. App'x 745, 747 (11th Cir.

             2014) (quoting U.S.S.G. § 2K2.1 commentary). Neither Hernandez-Landeros nor his

             attorney objected to this enhancement. CR ECF No. 156 at 4.

                    Hernandez-Landeros now argues that he received ineffective assistance of counsel

             when his attorney failed to object. He claims that no evidence existed to demonstrate that he

             trafficked in firearms. CV ECF No. 1 at 21-22. Instead, he argues that his co-defendants

             possessed the firearms and that "since [he] never transferred any firearms personally to the

             [ATF] agents," Id. at 22, his offense level was improperly enhanced and his attorney should

             have objected.

                    But Hernandez-Landeros misunderstands the range of conduct taken into account

             during sentencing. Other relevant conduct can also qualify a defendant for an enhancement,

             even conduct to which a defendant does not plead guilty. Section 1B1.3 of the U.S.

             Sentencing Guidelines is entitled "Relevant Conduct (Factors that Determine the Guideline

             Range)." It provides that "[u]nless otherwise specified. . . specific offense characteristics.

              shall be determined on the basis of.. . all acts and omissions committed, aided, abetted,




AO 72A
(Rev.8182)
             Case 4:13-cr-00116-WTM-JEG Document 199 Filed 06/30/15 Page 6 of 11




             counseled, commanded, induced, procured, or willfully caused by the defendant." U.S.S.G.

             § 1131 .3(a)(l)(A). For "jointly undertaken criminal activity," like the firearms trafficking

             that took place in this case, a specific offense characteristic enhancement is based on "all

             reasonably foreseeable acts and omissions of others in furtherance" of that activity. U.S.S.G.

             § IB1.3(a)(1)(B). In the context of § 1B1.3(a)(1)(B), a "jointly undertaken criminal

             activity" is "a criminal plan, scheme, endeavor, or enterprise undertaken by the defendant in

             concert with others, whether or not charged as a conspiracy." Id.

                    Nothing in § 2K2. I (b)(5) indicates that the relevant conduct rules under §

             1B13(a)(1) do not apply. Therefore, they do apply. See United States v. Wrice, 415 F.

             App'x 124, 126 (11th Cir. 2011) ("If the Sentencing Commission had intended to limit the

             relevant conduct that applies to a defendant for purposes of a [§ M. 1 (b)(5)] enhancement,

             it would have expressly included a limitation."). Since the relevant conduct rules do apply,

             the conduct of Hernandez-Landeros's co-defendants in the joint criminal activity was

             properly taken into account in the calculation of his offense level. He does not dispute that

             his co-defendants intentionally transferred firearms or that they had reason to believe those

             firearms would be used unlawfully. His participation with them in a jointly undertaken

             criminal activity is thus relevant conduct for the enhancement of his offense level. The

             Court warned Hernandez-Landeros of this possibility when it accepted his plea. CR ECF

             No. 155 at 13-17.

                    The enhancement of Hernandez-Landeros's offense level was not erroneous. Since

             it was not erroneous, it was not unreasonable for his attorney to fail to object to the

             enhancement, nor did it cause Hernandez-Landeros any prejudice. Hernandez-Landeros has




AO 72A
(Rev.8/82)
             Case 4:13-cr-00116-WTM-JEG Document 199 Filed 06/30/15 Page 7 of 11




             failed to demonstrate either Strickland element necessary to establishing ineffective

             assistance of counsel here, and thus is entitled to no relief on this count.

                     C. Failure to Consult Regarding an Appeal

                     Hemandez-Landeros also argues that his counsel was ineffective for failing to

             consult with him about the advantages and disadvantages of filing an appeal. CV ECF No. 1

             at 17. Such a failure could constitute ineffective assistance. But that is not what happened

             here.

                     "A lawyer who disregards specific instructions from the defendant to file.a notice of

             appeal acts in a manner that is professionally unreasonable." Roe v. Flores-Ortega, 528

             U.S. 470, 477 (2000). Even if a client has not made a specific request of his attorney to file

             an appeal, "counsel has a constitutionally-imposed duty to consult with the defendant about

             an appeal when there is reason to think either (1) that a rational defendant would want to

             appeal. . . , or (2) that this particular defendant reasonably demonstrated to counsel that he

             was interested in appealing." Id. at 480. The denial of an appeal as a result of ineffective

             assistance of counsel, deprive the accused of counsel at a "critical stage" and therefore carry

             a presumption of prejudice. Id. at 483. But "counsel's deficient performance must actually

             cause the forfeiture of the defendant's appeal." Id at 484. Thus, to invoke the presumption

             of prejudice, "a defendant must demonstrate that there is a reasonable probability that, but

             for counsel's deficient failure to consult with him about an appeal, he would have timely

             appealed."     Id.   "When counsel's constitutionally deficient performance deprives a

             defendant of an appeal that he otherwise would have taken, the defendant has made out a

             successful ineffective assistance of counsel claim entitling him to an appeal." Id. "The duty

             to consult includes two obligations: to advise the client 'about the advantages and



                                                              7

AO 72A
(Rev.8182)
             Case 4:13-cr-00116-WTM-JEG Document 199 Filed 06/30/15 Page 8 of 11




             disadvantages of taking an appeal,' and to make a 'reasonable effort to discover' whether the

             client wants to appeal." Baughman v. United States, 319 F. App'x 866, 869 (11th Cir. 2009)

             (quoting Flores-Ortega, 528 U.S. at 471).

                    Here, Hernandez-Landeros's attorney met both obligations. He discussed an appeal

             with Hernandez-Landeros. The post-conviction consultation certification, which

             Hernandez-Landeros signed, indicates that his attorney explained the consequences of not

             appealing and that Hernandez-Landeros decided not to do so. CR ECF No. 130. On his

             portion of that certification, Hernandez-Landeros indicated that "My attorney has advised

             me about the advantages and disadvantages of pursuing an appeal" and that "I have decided

             not to file an appeal, and my attorney has explained to me the consequences of failing to do

             so." Id at 2. Even in his petition, Hernandez-Landeros admits that his attorney discussed

             an appeal with him and that their discussion led Hernandez-Landeros to decide not to pursue

             one. CV ECF No. 1 at 19. On the opposing side, Hernandez-Landeros provides no

             evidence that he ever instructed his attorney to file an appeal. Thus, the attorney met all his

             constitutional obligations.

                    Hernandez-Landeros has failed to show that his attorney provided ineffective

             assistance, since his attorney did advise him about the benefits and disadvantages of filing

             an appeal. Therefore, he should not be granted relief on this count.

             II.     Hernandez-Landeros's plea was not involuntary.

                    Hernandez-Landeros also argues that his guilty plea was not voluntarily given. CV

             ECF No. 1 at 24-26. The record squarely contradicts his claim.

                     The Eleventh Circuit has explained that, for a guilty plea to be made knowingly and

             voluntarily, the court accepting the guilty plea must "specifically address three 'core



                                                            8

AO 72A
(Rev.8/82)
             Case 4:13-cr-00116-WTM-JEG Document 199 Filed 06/30/15 Page 9 of 11




             principles,' ensuring that a defendant (1) enters his guilty plea free from coercion, (2)

             understands the nature of the charges, and (3) understands the consequences of his plea."

             United States v. Moriarty, 429 F.3d 1012, 1019 (11th Cir. 2005).

                     The Court addressed each of these core principles at sentencing. First, at sentencing,

             Hernandez-Landeros testified under oath that he had been given sufficient time to speak

             with his attorney. CR ECF No. 155 at 10. He testified that he had spoken to no one else

             about his decision to plead guilty. Id. at 10-11. He admitted that he was pleading guilty

             because he was in fact guilty, id, and he testified that he was pleading guilty "freely and

             voluntarily," id at 19. Second, the Court ensured that Hemandez-Landeros understood the

             nature of the charges against him. The Court outlined the charges and highlighted the

             charge to which Flernandez-Landeros was pleading guilty.        Id at 11-13. The Court also

             ensured that Hernandez-Landeros understood that other relevant conduct could play a part in

             the calculation of the sentence.    Id. at 13. Finally, the Court explained to Hernandez-

             Landeros the consequences of a guilty plea. The Court explained that the dismissed counts

             could still be taken into account during sentencing, Id. at 13, that he would lose certain

             rights, id. at 8-9, and that he could face deportation after the completion of his sentence, Id.

             at 9.

                     The Court's colloquy fully ensured that Hernandez-Landeros's guilty plea was

             entered freely and voluntarily, without coercion. Hernandez-Landeros "swore during the

             plea colloquy that he committed the alleged offense, understood the possible consequences

             of his guilty plea, and waived his right to trial. There is a strong presumption that the

             statements made during the colloquy are true." United States v. Medlock, 12 F.3d 185, 187

             (11th Cir. 1994) (quotation marks and citation omitted).




AO 72A
(Rev.8/82)
       I
             Case 4:13-cr-00116-WTM-JEG Document 199 Filed 06/30/15 Page 10 of 11




                     Therefore, because Hernandez-Landeros's guilty plea was not involuntary, he should

             not be granted relief on this count.

             III. The Ippolito and Valoze Relationship

                     In his supplement to his § 2255 petition, Hernandez-Landeros argues that the failure

             of the government to disclose the improper relationship between AUSA Ippolito and Agent

             Valoze constitutes misconduct that justifies relief. CV ECF No. 11. He is again incorrect.

                     The fact of the relationship between Ippolito and Valoze represents only

             impeachment information and "impeachment information is special in relation to the

             fairness of a trial, not in respect to whether a plea is voluntary ('knowing,' 'intelligent,' and

             'sufficient[ly] aware')."       United States v. Ruiz, 536 U.S. 622, 629 (2002) (emphasis in

             original). By pleading guilty, a defendant waives the right to a fair trial and the concomitant

             right to exculpatory impeachment material. See id While such information may have made

             Hernandez-Landeros "more aware . . . of the likely consequences of a plea, waiver, or

             decision,. . . the Constitution does not require the prosecutor to share all useful information

             with the defendant." Id. All that the law requires for a knowing, intelligent, and sufficiently

             aware waiver of a right to a fair trial by way of guilty plea is that "the defendant fully

             understand[] the nature of the right and how it would likely apply in general in the

             circumstances—even though the defendant may not know the                                  specific detailed

             consequences of invoking it." Id. (emphasis in original).

                     Further, even assuming arguendo that the Government's failure to disclose

             impeachment material in this instance is cause for constitutional concern, 4 Hernandez-

             Landeros not only swore to the facts underlying the offenses to which he pleaded guilty, but

             ' In Ruiz, Justice Thomas read the majority as "suggest[ing] that the constitutional analysis turns in some part
             on the 'degree of help' such information would provide to the defendant at the plea stage." Ruiz, 536 U.S. at
             633 (Thomas, J., concurring).

                                                                    10

AO 72A
(Rev 8/82)
             Case 4:13-cr-00116-WTM-JEG Document 199 Filed 06/30/15 Page 11 of 11




             he also swore to the accuracy of Agent Valoze's account of the events underlying the

             offenses to which he pleaded guilty. CR ECF No. 155 at 22. "[1]f the Rule 11 plea taking

             procedure is careful and detailed, the defendant will not later be heard to contend that he

             swore falsely," United States v. Stizer, 785 F.2d 1506, 1514 n.4 (11th Cir. 1986) (citing

             United States v. Barrett, 514 F.2d 1241, 1243 (5th Cir. 1975)); see also United States v.

             Rogers, 848 F.2d 166, 168 (11th Cir. 1988) ("[W]hen a defendant makes statements under

             oath at a plea colloquy, he bears a heavy burden to show his statements were false."). In

             light of the ample warnings from the Court during the plea colloquy regarding the

             consequences of pleading guilty and admitting the facts alleged in the indictment, it is

             exceedingly unlikely that disclosure of impeachment material satisfies the heavy burden of

             asserting that Hemandez-Landeros's statements made during that colloquy were false.           Cf

             United States v. Hauring, 790 F.2d 1570, 1571 (11th Cir. 1986) (concluding that, after

             entering a guilty plea, "any subjective belief" that the petitioner "would later be permitted to

             withdraw his plea and replead to a lesser charge was unjustified").

                    Therefore, the fact that the Government did not disclose impeachment material prior

             to Hernandez-Landeros's guilty plea does not entitle him to relief.

                                                    CONCLUSION

                    Based on the foregoing, it is my RECOMMENDATION that Hernandez-

             Landeros's § 2255 petition be DENIED.

                SO REPORTED and RECOMMENDED, this3E of June 2015.




                                                    LAMES E. GRAHAM
                                                    MAGISTRATE JUDGE

                                                            11

AO 72A
(Rev.8/82)
